   Case 3:23-cv-02866-K Document 12 Filed 01/30/24                Page 1 of 2 PageID 113



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


SYMBOLOGY INNOVATIONS, LLC,

       Plaintiff,
                                                         CASE NO. 3:23-CV-02866-K
       v.
                                                          JURY TRIAL DEMANDED
AMERICAN AUTOMOBILE
ASSOCIATION, INC.; AAA TEXAS, LLC,

       Defendants.



                    DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS
                          FOR FAILURE TO STATE A CLAIM

       Pursuant to Local Rule 7.1 and Federal Rule of Civil Procedure 12, Defendants American

Automobile Association, Inc. and AAA Texas, LLC respectfully move this Court to dismiss

Symbology Innovations, LLC’s complaint for failure to state a claim upon which relief can be

granted. The complaint asserts infringement of two patents, both of which are invalid for failure

to claim patent-eligible subject matter under 35 U.S.C. § 101. The grounds for this motion are

further set forth in Defendants’ Opening Brief in Support of Their Rule 12(b)(6) Motion to Dismiss

for Failure to State a Claim, which is being filed contemporaneously herewith.




                                                1
   Case 3:23-cv-02866-K Document 12 Filed 01/30/24                Page 2 of 2 PageID 114



 Dated: January 30, 2024                     Respectfully submitted,

                                             /s/ Neil J. McNabnay
                                             Neil J. McNabnay
                                             Texas Bar No. 24002583
                                             Ricardo J. Bonilla
                                             Texas Bar No. 24082704
                                             Rodeen Talebi
                                             Texas Bar No. 24103958
                                             Sarika Patel
                                             Texas Bar No. 24073520
                                             mcnabnay@fr.com
                                             rbonilla@fr.com
                                             talebi@fr.com
                                             patel@fr.com
                                             FISH & RICHARDSON P.C.
                                             1717 Main Street, Suite 5000
                                             Dallas, Texas 75201
                                             (214) 747-5070 (Telephone)
                                             (214) 747-2091 (Facsimile)

                                             ATTORNEYS FOR DEFENDANTS
                                             AMERICAN AUTOMOBILE ASSOCIATION,
                                             INC. AND AAA TEXAS, LLC


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy has been electronically filed using the CM/ECF

filing system on January 30, 2024, which automatically sends email notifications to all counsel of

record and which will permit viewing and downloading of same from the CM/ECF system.


                                             /s/ Neil J. McNabnay
                                             Neil J. McNabnay




                                                2
